 

Case: 1:18-cv-06995 Document #: 3 Filed: 10/18/18 Page 1 of 1 PagelD #:42

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U.S. District Court for the Northern District Of Illinois
Appearance Form for Pro Se Litigants

 

Information entered on this form is required for any person filing a case in this court as a pro se
party (that is, without an attorney). Please ~~*""~

1:18-cv-06995
Judge Charles P. Kocoras
Case Title: MagistrateJudge Sidney |. Schenkier tee

An appearance is hereby filed by the undersigned as a pro se litigant:

Name: What uc Vy av tle
Street Address) \TIL Prairie Wind “Dw.
City/State/Zip: Dolek ,\L 6043S

Phone Number: KIS - 63A0- $496

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Signature Executed on (date)

 

REQUEST TO RECEIVE NOTICE THROUGH E-MAIL

If you check the box below and provide an e-mail address in the space provided, you will receive notice
via e-mail. By checking the box and providing an e-mail address, under Federal Rule of Civil Procedure
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am waiving the right to receive a paper copy of any electronically filed document in this case. |
understand that if my e-mail address changes | must promptly notify the Court in writing.

 

E-Mail Address (Please PRINT legibly.) Fo i L. E D
Vi OCT 18 2018

THOMAS G. BRUTON
Rev. 06/23/2016 Clee < $18 DISTRICT COURT

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